Mr. Jim Miles, Campaign Manager Campaign for Healthier Babies 2915 Kavanaugh, Suite 386 Little Rock, AR 72205
Dear Mr. Miles:
This is in response to your request for my review and approval of an Interlocal Cooperation Agreement between the Arkansas Department of Human Services, Division of Economic and Medical Services, Office of Medical Services, and the Memphis and Shelby County Health Department in connection with the extension of a campaign for prenatal care into eastern Arkansas and Shelby County, Tennessee. Your request is made pursuant to A.C.A. § 25-20-104 (Repl. 1992).
My review indicates that the Agreement is in proper form and is compatible with the laws of this state. The agreement is therefore hereby approved.
The foregoing opinion, which I hereby approve, was prepared by Assistant Attorney General Sarah L. James.
Sincerely,
WINSTON BRYANT Attorney General
WB:SLJ/cyh